   Case 19-50012    Doc 142 Filed 04/25/19 EOD 04/25/19 15:28:10   Pg 1 of 2
                      SO ORDERED: April 25, 2019.




                      ______________________________
                      Robyn L. Moberly
                      United States Bankruptcy Judge




                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

________________________________________________
In re:                                           )   Chapter 11
                                                 )
USA GYMNASTICS,                                  )   Case No. 18-09108-RLM-11
                                                 )
Debtor.                                          )
                                                 )
USA GYMNASTICS,                                  )
                                                 )
Plaintiff,                                       )
                                                 )   Adv. Proc. No. 19-50012
            v.                                   )
                                                 )
ACE AMERICAN INSURANCE COMPANY f/k/a             )
CIGNA INSURANCE COMPANY, GREAT                   )
AMERICAN ASSURANCE COMPANY, LIBERTY              )
INSURANCE UNDERWRITERS INC., NATIONAL            )
CASUALTY COMPANY, RSUI INDEMNITY                 )
COMPANY, TIG INSURANCE COMPANY,                  )
VIRGINIA SURETY COMPANY, INC. f/k/a              )
COMBINED SPECIALTY INSURANCE                     )
COMPANY, WESTERN WORLD INSURANCE                 )
COMPANY, ENDURANCE AMERICAN                      )
INSURANCE COMPANY, AMERICAN                      )
INTERNATIONAL GROUP, INC., AMERICAN              )
HOME ASSURANCE COMPANY, and DOE                  )
INSURERS,                                        )
    Case 19-50012       Doc 142     Filed 04/25/19       EOD 04/25/19 15:28:10     Pg 2 of 2



                                                             )
Defendants.                                                  )


ORDER ON DEFENDANT LIBERTY INSURANCE UNDERWRITERS’ MOTION FOR
LEAVE TO FILE A COMBINED BRIEF IN RESPONSE TO MOTION FOR PARTIAL
  SUMMARY JUDGMENT AND BRIEF IN SUPPORT OF CROSS-MOTION FOR
           SUMMARY JUDGMENT IN EXCESS OF PAGE LIMITS

         This cause comes before the Court on Defendant Liberty Insurance Underwriters’ Motion

for Leave to file a Combined Brief in response to Motion for Partial Summary Judgment and

Brief in Support of Cross-Motion for Summary Judgment in Excess of Page Limits. The Court,

having reviewed said Motion and being duly advised in the premises, now grants said Motion.

         It is therefore ORDERED, ADJUDGED AND DECREED that the Court allows the

combined brief which Liberty Insurance Underwriters seeks to file in response to Plaintiff USA

Gymnastics’ Motion for Partial Summary Judgment and brief in support of its own Cross-Motion

for Summary Judgment to be filed in excess of the page limits in the local rule.


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Distribution to:

All counsel of Record
U.S. Trustee



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